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IN THE UNITED STATES DISTRICT COURT OF MARYLAND
NORTHERN DISTRICT

SAMUEL GREEN *
Plaintiff, *
v. * Case No. 1:19-ev-01410-ELH
AMF BOWLING CENTERS, INC. .
De fe ndant. 2
* * * * * * * % % & & * *
ORDER

UPON CONSIDERATION of Defendant AMF Bowling Centers, Inc.’s Motion to Vacate
Order to Lift Stay and Grant Motion to Amend Amended Complaint and Motion to Extend

Deadline to Oppose Order Granting Plaintiff's Motion to Amend Amended Complaint, it is this

d day of at , 2020, by this Court,
ORDERED, that Defendant’s Motion be and hereby i GRANTED IN a
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FURTHER a a that the order, g stay and=grantnge—Plsintiffs—Moton—to

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FURTHER ORDERED, that the deadline for Defendant to oppose erdes—granting—

Plaintiff's Motion to Amend Amended Complaint “8-EXTENDEDto>15—-days—afier Plaintiff
iy etltrlect to July 26, 2020 ;

Plainn 6 Got clei, eH Viebaert a amuse : Aayrss Tt
—Zelan R + Stone

Judge

   

 
      
  

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